      Case 2:05-cr-00104-WHA-SRW Document 69 Filed 07/29/05 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTHERN DIVISION


UNITED STATES OF AMERICA                      )

vs.                                           )   CR. NO. 2:05cr104-A

RIGOBERTO MORALES-CRUZ                        )


                                           ORDER

       No timely objection having been filed to the Recommendation of the Magistrate Judge

entered on July 15, 2005 (Doc. #62), the Recommendation is ADOPTED, and it is hereby

       ORDERED that Defendant’s Motion for Relief From Prejudicial Joinder is DENIED.

       DONE this 29th day of July, 2005.



                                           /s/ W. Harold Albritton
                                           W. HAROLD ALBRITTON
                                           SENIOR UNITED STATES DISTRICT JUDGE
